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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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ROBERT DOUGAL,

                     Plaintiff,

               -v-                         1:23-CV-1167

ERIC LEWICKI et al.,

                     Defendants.

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APPEARANCES:                               OF COUNSEL:

ROBERT DOUGAL
Plaintiff, Pro Se
294 Wilbur Road
Schuylerville, NY 12871

DAVID N. HURD
United States District Judge

             ORDER ON REPORT & RECOMMENDATION

   On September 12, 2023, pro se plaintiff Robert Dougal (“plaintiff”) filed

this action alleging that the named defendants violated his civil rights during

an incident that happened on January 25, 2017 and, along with a series of

other, related events, ultimately led to his state-court conviction on certain

criminal charges. Dkt. No. 1. Along with his complaint, plaintiff sought

leave to proceed in forma pauperis (“IFP Application”). Dkt. No. 2.
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   On October 3, 2023, U.S. Magistrate Judge Christian F. Hummel granted

plaintiff’s IFP Application and advised by Report & Recommendation (“R&R”)

that plaintiff’s complaint be dismissed with partial leave to replead. Dkt. No.

3. With the R&R pending, plaintiff moved for the appointment of counsel to

assist him. Dkt. Nos. 4, 6. This Court deferred decision on plaintiff’s motion

for counsel and adopted Judge Hummel’s R&R over plaintiff’s objection. Dkt.

Nos. 5, 7. Thereafter, plaintiff filed an amended complaint on November 17,

2023. Dkt. No. 8.

   On May 2, 2024, Judge Hummel denied plaintiff’s motion to appoint legal

counsel without prejudice, conducted an initial review of plaintiff’s amended

complaint, and advised in a second R&R that plaintiff’s amended complaint

be dismissed with limited leave to amend. Dkt. No. 9. As Judge Hummel

explained, plaintiff’s Fourteenth Amendment deliberate-indifference claims

for municipal liability might be plausible. Id. But Judge Hummel concluded

that plaintiff’s various other claims against all of the other named defendants

were barred by the statute of limitations and/or plaintiff’s failure to support

those claims with sufficient factual matter to survive a motion to dismiss. Id.

   Plaintiff has lodged objections. Dkt. No. 10. In brief, plaintiff asserts that

Judge Hummel’s second R&R misstates, or perhaps mischaracterizes, certain

allegations in his amended complaint. Id. By way of relief, plaintiff requests



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that his amended complaint be dismissed without prejudice to give him one

more chance to replead.

   Upon de novo review, Judge Hummel’s second R&R is accepted in part and

will be adopted in part. See 28 U.S.C. § 636(b)(1)(C). In particular, the Court

finds that, in light of plaintiff’s pro se status, he is entitled to one more shot

at repleading his claims. Although the Court will not dismiss any additional

claims with prejudice at this time, plaintiff is cautioned that any claims

and/or defendants that were already dismissed with prejudice in Judge

Hummel’s October 3 R&R, Dkt. No. 3, which was previously adopted in full

by this Court on October 25, Dkt. No. 7, may not be repleaded.

   Therefore, it is

   ORDERED that

   1. The Report & Recommendation (Dkt. No. 9) is ACCEPTED in part;

   2. Plaintiff’s amended complaint (Dkt. No. 8) is DISMISSED without

prejudice;

   3. Plaintiff shall have THIRTY DAYS in which to file a second amended

pleading that conforms with the instructions set forth above;

   4. If plaintiff files a second amended complaint within the thirty-day

deadline, the pleading shall be returned to Judge Hummel for an initial

review; and



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   5. If plaintiff does not file a second amended complaint within the thirty-

day deadline, the Clerk of the Court is directed to enter a judgment

dismissing this action without further Order of the Court.

   IT IS SO ORDERED.


Dated: May 23, 2024
       Utica, New York.




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